UNITED STATES DISTRICT COURT | cm Ao Tan
EASTERN DISTRICT OF TENNESSEE Kal MS obsted
AT KNOXVILLE ;

   

IN THE MATTER OF THE SEARCH OF:

THE RESIDENCES AT 800 WASHBURN

AVENUE, KNOXVILLE 37919; 200 EAST

QUINCY AVENUE, KNOXVILLE, TN 37917; Case No. 3:19-MJ-1051
AND THE REAR WEST APARTMENT AT

618 MIDLAKE DRIVE, KNOXVILLE, TN

37918.

 

MOTION TO UNSEAL SEARCH WARRANT DOCUMENTS

The United States of America, by ail fhaauah the United States Attorney for the Eastern
District of Tennessee, hereby requests that the search warrant application, affidavit, ander, and
warrant in case number 3:19-MJ-1051 be unsealed. The warrant has been executed and the
reasons for sealing the aforementioned documents no longer apply to the documents.

Respectfully submitted this 29th day of April, 2019.

J. DOUGLAS OVERBEY
UNITED STATES ATTORNEY

By: Ay N. Ei

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